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                         Exhibit 2
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________         of of
                                                                   District  New  York
                                                                                __________
                             Trooper 1
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-cv-893 (LDH)(TAM)
                 New York State Police et al.                                 )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                    Lindsey Boylan

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: see attached Schedule A.



  Place: Sher Tremonte LLP                                                              Date and Time:
           90 Broad Street, 23rd Floor                                                                      04/20/2023 10:00 am
           New York, NY 10004

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/30/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s Theresa Trzaskoma
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Governor Andrew M. Cuomo                                                , who issues or requests this subpoena, are:
Theresa Trzaskoma, Sher Tremonte LLP, 90 Broad St., 23rd Fl., NY, NY 10004, ttrzaskoma@shertremonte.com
                                                                                                     
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-cv-893 (LDH)(TAM)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                                           DEFINITIONS

       1.      “Action” refers to the above-captioned proceeding pending in the Federal District

Court for the Eastern District of New York.

       2.      “AJC” means the Assembly Judiciary Committee and its employees and agents,

including Davis Polk & Wardwell.

       3.      “AJC Investigation” means the investigation of Governor Cuomo conducted by and

on behalf of the AJC.

       4.      “Communication” means the transmittal or receipt of information by any means,

including but not limited to interviews, face-to-face conversations and meetings, telephonic

conversations and meetings, writings, letters, notes, documents given or received, facsimile

transmissions, electronic mail (e-mail), electronic bulletin boards, instant messages, text messages,

voicemail messages, BlackBerry messages, Skype messages, Google-Chats, “tweets,” or any other

electronic means of transmitting information.

       5.      “Concerning” means evidencing, constituting, identifying, supporting, tending to

support, contradicting, tending to contradict, pertaining to, relating to, referring to, associated with,

connected to, regarding, discussing, mentioning, or dealing with the subject matter of the demand.

       6.      “Document” means any document or thing subject to designation for production

under Federal Rule of Civil Procedure 34, including without limitation any printed, written, typed,

digital, electronic, taped, recorded, printout, graphic or computerized printout or other data

compilation, including in the case of electronically stored information, all metadata associated with

such information and documents, and any other tangible matter of any kind or description, from

whatever source, however produced or reproduced, whether in draft or otherwise, whether sent or




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received, or neither, including but not limited to, the original, a copy (if the original is not available),

all preliminary or other drafts, and all non-identical copies. This term includes, without limitation,

e-mails, writings, drawings, graphs, charts, photographs, sound recordings, images, receipts, billing

records, and other data or data compilations stored in any medium.

         7.      “Executive Chamber” refers to the Executive Chamber also known as the Office of

the Governor of New York State, including the Chamber and any of its staff.

         8.      “Governor Cuomo” refers to former Governor Andrew M. Cuomo.

         9.      “Media Outlet” means any mass communication medium or its agents or employees,

including but not limited to broadcast or publishing entities, social media entities, and any internet

news entities.

         10.     “OAG” means the Office of the Attorney General and its employees and agents,

including Vladeck, Raskin & Clark P.C. and Cleary Gottlieb Steen & Hamilton LLP.

         11.     “OAG Investigation” means the Office of the Attorney General’s investigation into

allegations of sexual harassment by Governor Cuomo.

         12.     “You” means Lindsey Boylan or any attorneys, agents, or employees acting on Your

behalf, including Your 2020 and 2021 campaign committees for U.S. Congress and/or Manhattan

Borough President.

         13.     The following rules of construction apply to all discovery requests: (i) the terms “all,”

“any,” and “each” shall each be construed as encompassing any and all; (ii) the connectives “and”

and “or” shall be construed either disjunctively or conjunctively as necessary to bring within the

scope of the discovery request all responses that might otherwise be construed to be outside of its

scope.




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        14.     As used herein the singular form of a noun or pronoun shall be considered to include

within its meaning the plural form of the noun or pronoun so used, and vice versa; and the use of

any tense of verb shall be considered to include within its meaning all other tenses of the verb so

used.

        15.     Whenever reference is made to a person or legal entity, it includes any and all of such

person’s or entity’s past and present affiliates, officers, directors, agents, partners, employees,

attorneys, representatives, investigators, predecessors, successors, assigns and/or any other person

or entity acting on, or purporting to act on, its behalf.

                                           INSTRUCTIONS

        1.      You are requested to produce all documents as separate PDF files, or in such other

electronic format as to be agreed upon, which shall be endorsed with Bates numbers.

        2.      If any document requested herein was at one time in existence, but has been lost,

discarded, or destroyed, identify: (a) each such document, including the (i) date, (ii) nature, (iii)

subject matter, (iv) person who originated it, and (v) person to whom it was sent; (b) the last known

custodian of the document; (c) the date the document was lost, discarded, or destroyed; (d) the

reason(s) for discarding or destroying the document; (e) each person having knowledge of the

document; and (f) each person having knowledge of the circumstances of it being lost, discarded, or

destroyed.

        3.      All grounds for an objection shall be stated with specificity.

        4.      To the extent a request calls for the production of documents or things You contend

are subject to a privilege or immunity from discovery, Your written response should so indicate, but

You are requested to produce the balance of the documents or things not subject to a claim of

privilege which fall within the scope of the request. Additionally, to the extent information subject




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to a privilege or immunity from discovery is contained within responsive documents or things, You

are requested to produce a redacted version of the document or thing containing the non-privileged

information with a notation on the produced document or thing indicating that it is being produced

in redacted form.

       5.      If any form of privilege is claimed as a ground for not producing any document, set

forth in complete detail each and every fact upon which the privilege is based, including (a) the

nature of the privilege; (b) the type of document, e.g., letter or memorandum; (c) the general subject

matter of the document; (d) the date of the document; (e) the author of the document; (f) the

addressee(s) of the document; (g) the recipient(s) of the document; (h) where not apparent, the

relationship of the author, addressee(s) and recipient(s) to each; and (i) such other information as is

sufficient to identify the document and determine whether the claim of privilege is valid.

       6.      These requests are intended to cover all documents in Your possession, custody or

control, stored or maintained in any form or format. For the avoidance of doubt, these requests are

intended to cover all documents that are stored on any computers (including personal computers,

laptop computers, notebook computers, and mainframe computers), Personal Digital Assistants

(PDAs), Blackberries, iPhones, iPads, smart phones, or other mobile devices, recorded messages and

voicemails, magnetic tapes, optical discs (such as Blue-ray discs, CDs, and DVDs), memory cards

(such as CompactFlash cards, Secure Digital cards, and Memory Sticks), zip disks and other floppy

disks, removable media (including storage devices and external hard drives, flash drives, and USB

drives), document storage and sharing sites (such as Dropbox), and social media or websites.

       7.      These requests are deemed to be continuing, and the responses thereto are to be

supplemented promptly upon acquisition of any additional documentation.




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                                  DOCUMENT REQUESTS

       1.     All documents concerning (a) any of Your personal interactions with Governor

Cuomo, and/or (b) any allegations of sexual harassment or other misconduct You have made against

Governor Cuomo.

       2.     All documents concerning the OAG Investigation, including but not limited to any

communications between You and the OAG and any statements or documents You provided to the

OAG.

       3.     All documents concerning the AJC Investigation, including but not limited to any

communications between You and the AJC and any statements or documents You provided to the

AJC.

       4.     All documents reflecting any communications between You and any Media Outlet or

journalist, including but not limited to news outlets, newspapers, or social media platforms,

concerning allegations of sexual harassment or other misconduct against Governor Cuomo.

       5.     All documents reflecting communications with the Executive Chamber or any of its

current or former employees, including Charlotte Bennett, Alessandra Biaggi, Brittany Commisso,

Alyssa McGrath, Ana Liss and Kaitlin Moody, concerning Governor Cuomo, including allegations

of sexual harassment or other misconduct against Governor Cuomo and any investigation of

Governor Cuomo.

       6.     All documents related to your February 2021 essay published on Medium entitled

“My story of working with Governor Cuomo,” including all non-privileged drafts and

communications concerning that essay.

       7.     All communications with Karen Hinton concerning Governor Cuomo.




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         8.    For the period January 1, 2017 through the present, all communications with Howard

Zemsky concerning: Governor Cuomo; Your personal relationship and/or sexual relationship with

Howard Zemsky; and/or a meeting with Alphonso David in January 2018 concerning your

relationship with Howard Zemsky.

         9.    For the time period March 1, 2020 through the present, all documents concerning

fundraising or other communications by Your campaigns relating to your allegations of sexual

harassment or other misconduct against Governor Cuomo.

         10.   For the time period March 13, 2020 through June 23, 2020, all communications

concerning Governor Cuomo’s March 14, 2020 executive order temporarily modifying election

procedures during the COVID-19 public health crisis.

         11.   All communications with Governor Cuomo.

         12.   All documents and communications concerning your September 2018 resignation

from New York State employment, including those relating to meetings with Alphonso David, those

regarding any effort or attempt by you to resign prior to that resignation, or those relating to

documents you signed or were asked to sign in connection your resignation.

         13.   All communications concerning workplace complaints about you during your

employment by New York State and/or the Empire State Development Corporation.

         14.   All communications concerning any effort or attempt by you to retain employment

with the State of New York and/or Empire State Development Corporation following your

September 2018 resignation, including communications with Stephanie Benton and/or Alphonso

David.

         15.   All documents and communications concerning the decision by Lupe Todd Medina

to stop working for your campaign for Manhattan Borough President.




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       16.    All videos, images, or photographs of Governor Cuomo or of You with Governor

Cuomo and any documents or communications concerning such videos, images, or photographs,

including on social media.




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